                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                  DOCKET NO. 3:07CR61-FDW

UNITED STATES OF AMERICA,                        )
                                                 )
               v.                                )              FINAL ORDER AND
                                                 )          JUDGMENT OF FORFEITURE
(5) LORENZO LEE JOHNSON                          )
(10) TONY STEPHENS                               )
(13) MARCUS DUPREE COLEMAN                       )
(14) STEVEN JERMONTE CURETON                     )
(17) DANIELLE JERMAINE JACKSON                   )
(18) CLIFTON VANDIVER.                           )


       On February 19, 2008, this Court entered a Preliminary Order of Forfeiture pursuant to 21

U.S.C. §853 and Fed. R. Crim. P. 32(d)(2), based upon each defendant’s plea to Count One in the

Bill of Indictment. On March 25, April 1 and April 8, 2008, the United States published in the

Mecklenburg Times, a newspaper of general circulation, notice of this forfeiture and of the intent

of the government to dispose of the forfeited property in accordance with the law, and further

notifying all third parties of their right to petition the Court within thirty days for a hearing to

adjudicate the validity of any alleged legal interest in the property. It appears from the record that

no such petitions have been filed.

       Based on the record in this case, including each defendant’s admissions by his plea of guilty

to the charges in Count One, the Court finds, in accordance with Fed. R. Crim. P. 32.2(c)(2) and

(e)(1)(B), that the defendant had an interest in the property listed below that is forfeitable under 21

U.S.C. §853(a). The Preliminary Order of Forfeiture has therefore become final as to this property,

and it is subject to forfeiture pursuant to Rule 32.2(c)(2) and Rule 32.2(e)(1)(B).




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       It is therefore ORDERED, ADJUDGED AND DECREED that all right, title, and interest in

the following property is hereby forfeited to the United States for disposition according to law:

       (5) Lorenzo Lee Johnson

               One Ruger Model P-90 .45 caliber semi-automatic pistol, serial no. 661-88011,
               and ammunition.

               One Taurus Model PT-24/7 9mm semi-automatic pistol, serial no. TWL35644,
               and ammunition.

       (10) Tony Stephens

               $9000 in United States currency.

       (13) Marcus Dupree Coleman

               One Martin Model Glenfield 60 .22 caliber rifle, serial no. 72336963.

               One Norinco Model 213 9mm pistol, serial no. 24014995, and ammunition.

       (14) Steven Jermonte Cureton

               One Taurus PT92 9mm pistol, serial no. TSL53474, and ammunition.

       (17) Danielle Jermaine Jackson

               One European American Armory Corporation Witness Model P .45 caliber
               semi-automatic pistol, serial no. AE86311.

       (18) Clifton Vandiver

               One Glock GMBH Model 30 .45 caliber pistol, serial no. CXH772US.

               One Romarm/Cugir Model SAR-3 .223 caliber rifle, serial no. S3-07882-2000.

                                                 Signed: July 14, 2008




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